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                        EXHIBIT C

                    Kasowitz Declaration
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            )     Chapter 11
                                                                  )
YELLOW CORPORATION, et al., 1                                     )     Case No. 23-11069 (CTG)
                                                                  )
                          Debtors.                                )     (Jointly Administered)
                                                                  )

              DECLARATION OF MARC E. KASOWITZ IN SUPPORT OF
           DEBTORS’ APPLICATION PURSUANT TO SECTIONS 327(e), 328(a),
              AND 330 OF THE BANKRUPTCY CODE FOR ENTRY OF AN
            ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT
           OF KASOWITZ BENSON TORRES LLP, AS SPECIAL LITIGATION
         COUNSEL TO THE DEBTORS EFFECTIVE AS OF THE PETITION DATE
         Pursuant to Rule 2014(a) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), Marc E. Kasowitz declares as follows:

         1.      I am a member of the firm of Kasowitz Benson Torres LLP (the “Firm”), a law

firm of over 250 attorneys, which maintains its principal offices at 1633 Broadway, New York,

New York and other offices in: Atlanta, Georgia; Denver, Colorado; Houston, Texas; Los

Angeles, California; Miami, Florida; Newark, New Jersey; Redwood Shores, California; San

Francisco, California; and Washington, D.C.

         2.      I submit this declaration in support of the Debtors’ Application Pursuant to

Sections 327(e), 328(a), and 330 of the Bankruptcy Code for Entry of an Order Authorizing the

Retention and Employment of Kasowitz Benson Torres LLP, as Special Litigation Counsel to the

Debtors Effective as to the Petition Date (the “Application”).




1
    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
    place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
    Overland Park, Kansas 66211.
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       3.      To my knowledge, neither I, the Firm, nor any members of the Firm, insofar as I

have been able to ascertain, has any connection with the above-captioned debtors and debtors in

possession (the “Debtors”), their creditors, or any other parties in interest herein, or their

respective attorneys, except as set forth herein.

       4.      In connection with its proposed retention by the Debtors as special litigation

counsel with respect to the Pre-Petition Litigation in these chapter 11 cases, the Firm undertook

to determine whether it had any conflicts or other relationships that might cause it to represent or

hold an interest adverse to the Debtors or to the estates with respect to the matters on which the

Firm is to be employed. The disclosure schedule annexed hereto as Schedule A lists the names

of the parties in interest. The Firm maintains an electronic client database of current and former

clients to permit the electronic searching of all potential parties in interest in new cases for

connections to the Firm’s clients. The Firm searched this client database to determine whether it

had a current or prior (within the preceding three-year period) relationship with any of the

potential parties in interest listed on Schedule A. The results of the Firm’s conflict analysis are

listed on Schedule B. To the best of my knowledge and belief, the Firm does not represent or

hold any interest adverse to the Debtors or to the estates with respect to the matters on which the

Firm is to be employed.

       5.      The Firm received payment from the Debtors during the year prior to the Petition

Date in the amount of $10,808,844. As of the Petition Date, the Firm had an outstanding invoice

to the Debtors in the amount of $1,323,987. The prepetition arrears were the direct result of the

significant legal work arising out of and necessitated by the events described in the IBT Action

and related to fees incurred in the month prior to the commencement of the chapter 11 cases.




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       6.      I believe that the Firm does not represent or hold any interest adverse to the

Debtors or to their estates with respect to the matters on which the Firm is to be employed –

specifically, the Pre-Petition Litigation. None of the Firm’s active representations have any

connection with the Firm’s representation of the Debtors or their respective estates in these

chapter 11 cases.

       7.      I am not related or connected to and, to the best of my knowledge, no other

professional of the Firm who will work on this engagement is related or connected to, any United

States Bankruptcy Judge for the District of Delaware or any employee in the Office of the United

States Trustee for the District of Delaware.

       8.      From time to time, the Firm may work with Pachulski Stang Ziehl & Jones LLP

(“PSZJ”) and Kirkland & Ellis LLP and Kirkland & Ellis International LLP (together, “K&E”),

the Debtors’ general bankruptcy counsel, through other entities that are clients of both the Firm

and PSZJ, or the Firm and K&E. From time to time, the Firm may work with one or more of the

Debtors’ other attorneys through other entities that are clients of both the Firm and such other

attorneys.

       9.      The Firm and certain of its members, of counsel, and associates may have in the

past represented, may currently represent, and likely in the future will represent, stockholders

and/or creditors of the Debtors and other parties of interest in connection with matters unrelated

to the Debtors, these chapter 11 cases or the Pre-Petition Litigation. At this time, the Firm is not

aware of any adverse interest, or of any connection with the Debtors, their creditors, the U.S.

Trustee, or any party-in-interest in in the matters upon which the Firm is to be employed, except

as disclosed herein. Upon further and continuing review of lists of all creditors and interested

parties, the Firm will make any further disclosures as may be appropriate.



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       10.     The Firm intends to apply for compensation for professional services rendered in

connection with these chapter 11 cases, subject to approval of this Court and in compliance with

applicable provisions of the Bankruptcy Code, on an hourly basis, plus reimbursement of actual,

necessary expenses and other charges incurred by the Firm. The Firm’s fees for professional

services are based upon its hourly rates, which are periodically adjusted. The Firm’s current

range of standard hourly rates are: $1,155 to $2,300 for partners, (b) $1,150 to $2,000 for special

counsel, (c) $625 to $1,150 for associates, (d) $425 to $715 for staff attorneys, and (e) $310 to

$595 for paralegals and legal staff. The current rates charged by the Firm are the same rates that

the Firm charged for services immediately prior to the Petition Date. Additionally, prior to the

Petition Date, the Firm provided the Debtors with a 15% discount on its rates. The Firm will

continue such discount throughout the pendency of the chapter 11 cases.

       11.     The Firm’s hourly billing rates are subject to periodic adjustments to reflect

economic and other conditions and generally are adjusted in January of each year. The Firm will

file a notice with the Court prior to any adjustment of its billing rates. For the avoidance of

doubt, and as indicated above, the Firm will maintain the 15% discount that was in effect prior to

the Petition Date.

       12.     The Firm’s hourly billing rates for professionals are not intended to cover

out-of-pocket expenses and certain elements of overhead that are typically billed separately.

Accordingly, the Firm regularly charges its clients for the expenses and disbursements incurred

in connection with the client’s case, including, inter alia, word processing, telecommunications,

photocopying, postage and package delivery charges, court fees, transcript costs, travel expenses,

expenses for “working meals” and computer-aided research.           The Firm will abide by the

Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and all other rules and regulations that



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have been or may be adopted by this Court in connection with all services provided and expenses

incurred.

       13.     No commitment has been made or received by the Firm, nor any member thereof,

as to compensation or payment in connection with these chapter 11 cases other than in

accordance with the provisions of the Bankruptcy Code and orders of the Court, and as set forth

in the Application. Further, the Firm has no agreement with any other entity to share with such

entity any compensation received by the Firm in connection with the these chapter 11 cases.

       14.     The services to be performed by the Firm will not be duplicative of other

professionals retained by the Debtors, but rather will ensure the most economic and effective

means for the Debtors to prosecute and/or defend, as applicable, the Pre-Petition Litigation.

Specifically, PSZJ and K&E will serve as the Debtors’ section 327(a) counsel, and the Firm will

serve as litigation counsel. The Firm has discussed this division of responsibilities and believes

it will avoid duplication of services.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.


Dated: September 7, 2023                 KASOWITZ BENSON TORRES LLP


                                         _/s/ Marc E. Kasowitz____________________________
                                         Marc E. Kasowitz
                                         Partner

                                         Proposed Special Litigation Counsel to the Debtors




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                         Schedule A

             List of Potential Parties in Interest
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5% or More Equity Holders                        Citadel
International Brotherhood of Teamsters           Citizens Bank N.A.
MFN Partners Management, LP                      Citizens Business Capital
United States Department of the Treasury         Cortland Products Corp.
                                                 ING Capital LLC
Affiliates and Subsidiaries                      JP Morgan Chase Bank N.A.
OPK Insurance Co. Ltd.                           KeyBank National Association
PT Meridian IQ Indonesia International           MFN Partners Management, LP
Reimer Holding B.V.                              MPI (London) Limited
Roadway Express, Inc.                            PNC Bank
Roadway Express, S.A. de C.V.                    PNC Bank National Association
Transcontinental Lease, S. de R.L. de C.V.       San Bernardino County Employees'
USF Holland Inc.                                 Retirement Association
Yellow Transportation, Inc                       Siemens Financial Services, Inc.
YRC Freight                                      TD Bank
YRC Logistics Asia Limited                       UMB Bank
YRC Services S. de R.L. de C.V.                  United States Department of the Treasury
YRC Transportation, S.A. de C.V.                 US Bank N.A.
                                                 Wells Fargo
Bank Lenders
Ace Global Multi-Credit LLC                      Bankruptcy Judges
Alter Domus Products Corp.                       Ashely M. Chan
Amissima Diversified Income ICAV                 Brendan L. Shannon
AP Kent Credit Master Fund, L.P.                 Craig T. Goldblatt
Apollo A-N Credit Fund (Delaware), L.P.          J. Kate Stickles
Apollo Accord Master Fund III, L.P.              John T. Dorsey
Apollo Atlas Master Fund, LLC                    Karen B. Owens
Apollo Centre Street Partnership, LP             Laurie Selber Silverstein
Apollo Credit Funds ICAV                         Mary F. Walrath
Apollo Credit Master Fund Ltd.                   Thomas M. Horan
Apollo Credit Strategies Master Fund, Ltd.
Apollo Lincoln Fixed Income Fund, L.P.           Bankruptcy Judges - Staff
Apollo Moultrie Credit Fund, L.P.                Al Lugano
Apollo Tactical Value SPN Investments,           Amanda Hrycak
L.P.                                             Cacia Batts
Apollo TR Enhances Levered Yield LLC             Catherine Farrell
Apollo TR Opportunistic Ltd.                     Claire Brady
Aspen American Insurance Company                 Danielle Gadson
Athora Lux Invest                                Demitra Yeager
Bancomer                                         Jill Walker
Bank of America, N.A.                            Joan Ranieri
Bank of Bermuda                                  Laura Haney
Bank of Nova Scotia                              Laurie Capp
BNY Mellon                                       Lora Johnson
Cadbury Mondelez Pension Trust Limited           Marquietta Lopez
CIT Finance LLC                                  Nickita Barksdale
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Paula Subda                                      Blue Grace Logistics
Rachel Bello                                     CH Robinson Co
Robert Cavello                                   Daimler Trucks NA
                                                 Dollar General Corporation
Bankruptcy Professionals                         Dollar Tree Stores
Ducera Partners                                  Eaton Corporation
Epiq Global                                      Echo Global Logistics
Goodmans LLP                                     Exel Inc
Kirkland & Ellis                                 Fern Exposition Services
Pachulski Stang Ziehl & Jones                    First Brands Group
                                                 Ford Motor Company
Cargo Related Claims                             Freeman Parent Companies
Barrette Outdoor Living                          Gallagher Affinity
Bluegrace Logistics                              General Electric
DuPont                                           Global Tranz Enterprises
Eech Group                                       Healthcore
Expeditors Cargo Insurance Brokers               Hillenbrand Inc
Falvey Shippers Insurance                        Hnry Logistics
Ford                                             Home Depot
Freightquote                                     Honda Motor Logistics
Logistics Plus                                   Hub Group
Mars Petcare USA Inc                             Hubbell Inc
Medline Industries                               Hyundai America
NFI Industries                                   Johnson Controls Inc
Phillips Van-Heusen                              L.O. Trading
Rivian Automotive LLC                            Logikor
Samsung Electronics America Inc                  Nissan North America Inc
Signify North America Corporation                Office Depot
Spectrum Brands                                  Ohio Logistics
Stanley Black & Decker (US) Inc                  Omni Logistics
Supplyhouse                                      PB Consultants
TFWW                                             Ply Gem
The Vollrath Company                             Priority One
Turn 5                                           Re Trans Freight
Unyson                                           Redwood/Simplified Logistics
UPS Capital Insurance Agency Inc                 Rite Aid
VWR International                                Rogers & Brown North American Logistics
Webstaurant Store                                Ryder Carrier Mgmt Svcs
                                                 Savings4Members
Customers                                        Schneider Logistics
4Front                                           Signify Lighting
Amazon Com Inc                                   Staples Inc
ARC Supply Chain Solutions                       TForce Worldwide
ArcBest Enterprise Solutions Inc                 TPS Logistics
Ascent Global Logistics Company                  Transportation Insight
Association Solutions                            Uber Freight US LLC
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Uline                                             Leah K. Dawson
Unishippers Global Logistics                      Matthew A. Doheny
United States Government                          Patricia M. Nazemetz
Volvo Logistics North American                    Shaunna D. Jones
Walmart Stores Inc                                Susana Martinez
Worldwide Express                                 Tony Carreno

Debtors                                           Environmental
1105481 Ontario, Inc.                             Roosevelt Irrigation District
Express Lane Service, Inc.                        US Environmental Protection Agency
New Penn Motor Express LLC
Roadway Express International, Inc.               Insurance Providers
Roadway LLC                                       Ace American Insurance Company
Roadway Next Day Corporation                      Ace Property & Casualty Insurance
USF Bestway Inc.                                  Company
USF Dugan Inc.                                    AEGIS London
USF Holland International Sales                   AFCO Credit Corporation
Corporation                                       AIG Specialty Insurance Company
USF Holland LLC                                   Allianz Global Corp & Specialty SE
USF Reddaway Inc.                                 Allianz Global Risk US Insurance Co
USF RedStar LLC                                   Allianz US Risks US Insurance Company
Yellow Corporation                                Allied World Assurance Company, Ltd.
Yellow Freight Corporation                        (AWAC)
Yellow Logistics, Inc.                            American International Group UK Limited
YRC Association Solutions, Inc                    American International Reinsurance Co.,
YRC Enterprise Services, Inc.                     Ltd.
YRC Freight Canada Company                        Applied Underwriters
YRC Inc.                                          Arcadian Risk Capital
YRC International Investments, Inc                Arch Reinsurance Ltd.
YRC Logistics Inc.                                Aria (SAC) Ltd
YRC Logistics Services, Inc.                      Aspen American Insurance Co
YRC Mortgages, LLC                                AXA XL
YRC Regional Transportation, Inc.                 Axis Bermuda Puni-Wrap
                                                  Axis Insurance Company
Director                                          Axis Specialty Limited
Annlea Rumfola                                    Axis Surplus Insurance Company
Chris T. Sultemeier                               Beazley Insurance Co.
Daniel L. Olivier                                 Berkshire Hathaway International Insurance
Darrel J. Harris                                  Ltd.
Darren D. Hawkins                                 Berkshire International
David H. Webber                                   BFL Canada
David S. McClimon                                 Canopious
Douglas A. Carty                                  Chubb Bermuda Insurance
James E. Hoffman                                  Chubb Limited
Jason W. Bergman                                  CNA
Javier Evans                                      Columbia Casualty
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Continental Casualty                           Alabama Auto
Crum & Forester                                Alco Iron & Metal
Emergin Risk                                   Alexander Hitz
Endurance American Insurance Co                Alvin L. Malnik
Endurance Specialty Insurance Ltd.             Ameesh Bhandari
Everest Insurance                              Anthony Martino
Federal Insurance Co                           APDI Liquidation, LLC
GAI Insurance Company, Ltd.                    Bed Bath & Beyond
Great American Assurance Co.                   Blackstrap Industries, Inc.
Greenwich Insurance Company                    Bm Group Inc.
Helix Underwriting Partners Ltd                Bright Earth Foods
Illinois Union Ins. Co.                        Bryant Holdings LLC
Lex-London                                     Caesar Smith
Lloyd's Of London                              Cherry Man Industries
Lockton                                        Christina Lewis
Magna Carta - AEGIS                            Comlink Network Services
Magna Carta Insurance, Ltd.                    Department of Defense
Markel                                         DPS Auto Shippers
Markel Bermuda                                 Eclipse IP LLC
Mosaic Insurance                               Environmental Protection Agency
National Fire & Marine Insurance Company       Federal Motor Carrier Safety Administration
National Union Fire Ins Co of PA               G & J Carlson Truck & Trailer Repairs
North Rock Insurance Company                   GPNE Corp
Old Republic General Insurance Corporation     Hallamore Corp, D/B/A B.T. Equipment
Old Republic Insurance Co.                     HBC Strategies Contract Payments
Old Republic Insurance Company of Canada       HKM Direct Market Communication
Resilience Cyber Insurance                     Hnrylogistic.com
Roanoke (Munich Re Syndicate)                  Hnrylogistics.net
Roanoke Trade                                  Hnryslogistics.com
RSUI Indemnity                                 Home Products International, Inc.
RT Specialty                                   Indemnity Ins. Co. of North America A/S/O/
Siriuspoint Bermuda Ins Co Ltd                 Perrigo Company
Sompo International                            Interboro Packaging Corp
St. Paul Fire and Marine Insurance             James D. Winston
Company                                        Jeff Thorn
Tokio Marine HCC                               Kenco Logistics Services (Invacare)
Travelers                                      Kevin M Galloway
Travelers of Canada                            Logistica Zemog
US Specialty Insurance Co                      Logitraq, LLC
Vantage Risk Ltd                               Maxfield Candy Co
Westchester Surplus Insurance Company          Nipponkoa Insurance
Willis Towers Watson                           Nova Wildcat Shur-Line Holdings (H2
XL Insurance Company SE - Irish Branch         Group)
                                               Ocean Amusements, Inc
Litigation                                     Omachron Science Inc.
68th Street Site Work Group                    OSHA
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Party City                                        Axos Bank
PML Capital                                       B & W Investments
Pyramid Flooring / Seneca Hardwood                B. Kik Properties LLC
Quality Ocean LLC                                 Baker Dennard & Goetz, Inc.
R&L Carriers                                      Barry Jenkins Trust
Reimer World Corp                                 Bel Air T.T., Llc
Revlon, Inc.                                      Big Sky Property Management
Roadnet Technologies                              Blach Distributing Company
Roadwaydelivery.Com                               Blach Investment Group
Rocket Farms, Inc.                                Bluebird Real Estate Holdings, LLC
Sirius Computer Solutions                         BNSF Railway Company
Standard Roofing & Sheet Metal Supply             Boyer Logistics, Inc.
Temp-Coat Brand Products                          Breit Industrial Canyon GA 1B01 LLC
The Purchase Master, LLC                          C and S Brokerage
TM Longevity Center, C.A.                         Central Property Group LLC
Transmate Logistics                               Chamberlain Trust
TS Express/Motorcar Parts of America              Champion Terminal Associates, LLC
Tucows Inc                                        Chicago Title Land Trust Company
US Freightways, Inc.                              Christy Real Estate, LLC
US Treasury                                       City of Goodland/County Clerk of Sherman
Vital Pharmaceuticals, Inc                        County
Vizant Technologies, LLC                          Commerce Road Terminals LLC
Washington State Employment Security              Crown Associates
Department                                        Crown Enterprises, Inc.
Yello Strom                                       CWW Enterprises LLC
Yellow Crates Corp                                Cynthia Oliver
Yellow Transportation (Manteca, CA)               David M. and Ann B. Morse
Yrccourier.com                                    DCT Eckhoff Street LLC
Yrcworldwidedelivery.com                          DCT Peoria Street LLC
Zenobia Company, LLC                              DCT Regentview Avenue, LLC
                                                  Dock Street Corp
Material Contracts                                Don Jerry X-Plo, Inc.
1313 Grand Street Realty, LLC                     Dunco, LLC
181 W Johnson Operating LLC                       Dwell Wise LP
445 Hollywood Avenue, LLC                         DWJS, LLC
9551930 Canada Inc.                               East West Bank
A. Duie Pyle                                      Edinburgh Logistics Assets LLC
A2.21 1333 North Market LLC                       Eiler, LLC
ABF Freight System, Inc.                          Elmira Terminal & Warehouse Corp.
Acheron Land Holdings ULC                         Estes Express Lines
Ajia, LLC                                         Estes Terminals LLC
Alamitos Auto Parts, Inc.                         Exeter 1619 N Plaza, LLC
Allied Logistics Corp.                            Exol Properties, LLC
Appletree Realty Holdings, LLC                    Fazio TV, LLC
Artim Industrial Properties                       Federal Bridge Corporation
Aurora Business Park Associates, LP               Fifty Second Avenue Associates, Inc.
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Finlayson Logistics Assets LLC              Mary A. Fazio Limited Partnership I
Freeport Center Associates                  Matelich Crane Pier & Piling
Freight Line Properties, LLC                McCallum Family, LLC
G&I IX Cheshire, LLC                        Mercedes-Benz Financial Services USA
GB Albany, LLC                              LLC
GB Union Gap, LLC                           MG Fishersville I, LLC
Geffs                                       Mitchell Nelson
GIJV IL7 LLC                                Mobile Airport Authority
Glen EG, LLC                                Mohawk Street Properties LLC
GPT Deer Park Terminal Owner LLC            Montana Opportunities, LLC
GPT Orlando Terminal Owner LLC              Multi-Base, Inc.
GPT Santa Fe Springs Owner LP               Napa Auto Parts
Green Acres Gypsum                          Nations Capital Finance
Growth Funding Equipment Finance            NATMI LPF Bloomington, LP
Grp 298 Astor LLC                           NATMI National FX Properties, LLC
Gulsons Cutter, LLC                         NATMI National Tampa, LLC
Haener Properties LP                        NATMI National Truck Terminals, LLC
Harris Real Estate Holdings, LLC            Ned Properties, LLC
Hartman Road LLC                            Nextran Truck Center
Hawkey Transportation                       Niagara Falls Bridge
Healthsource Integrated Solutions           Norstar Walker Inc.
Highland Investments, LLLP                  North Acres Development Co., Inc.
HVIP Industrial Park                        NW 5+B Office and Retail LLC
Invermex, LLC                               OPS-KC Aspiria, LLC
Ivey Self Storage, Inc.                     Orange Batavia I LLC
J and C Gilman LLC                          Orchard Investments, Inc.
J. B. Wright                                P & R Property Management
J. L. Clark Corporation                     PAC Operating Limited Partnership
Jack Chamberlain                            Paccar Financial Corp.
Jay F. Mannino Trust                        Pacific Transshipment Centers, LLC
JEDS, LLC                                   Pacificorp
Jennings Leasing, LC                        Paul Isaacson
Jerald K. Hofstad                           Peapack Capital Corporation
Jim Heatherly                               Pearl Lenzen
Jonesboro Freight Terminal, LLC             Penske Truck Leasing Co, L.P.
JVCA Investments, LLC                       Peters Investments, LLC
Kestrel Crossdock, LLC                      Pifer Property Holdings, Lp
Lee A. Wiggins                              Popular Investments, LLC
Lightedge Technologies                      Port of Seattle
Lorraine Carlson                            PPF Sudberry Ocean View Hills, LP
M J Rock, LLC                               Price Property and Investments LLC and
M4 Terminals, LLC                           Green Blue 1818 LLC
Mad Acquisitions, LLC                       Prologis L.P.
Madrona Cutter, LLC                         Prologis Targeted U.S. Logistics Fund, LP
Maria Ontiveros                             Prologis USLV Newca 3, CA
Marley RMC II Spe LLC                       Prologis USLV Newca 3, LLC
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Prologis USLV Subreit 4, LLC                    Thunderbolt Management Group Inc.
Property 1955 LLC                               Tierpoint, LLC
PWM, Inc.                                       Timberline Distributors LLC / The Black
Pyro Junkie Fireworks, Inc.                     Sheep
R. L. Roberts, Llc                              Toon Investments, LLC
Radius Bank                                     Toyota Commercial Finance
Realterm Nat Property Holdings, LP              Trafton Warehouse LLC
Regency West Office Partners                    Trip Portfolio, LLC
Reimer World Properties Corp.                   Umpqua Dairy
RGA Dalfen East Dallas LP                       Unite Private Networks
Rich and Dave Grant Properties                  Usholl (MI) LLC
Richardsons Properties LLC                      Velocity Partners LLC
RLF Booth SPE, LLC                              Victoria C. Haycock
RLF I-A SPE, LLC                                Vieweg Real Estate
RLF I-C SPE, LLC                                Villa Vista West, LLC
RLF I-Pico SPE, LLC                             Volvo Financial Services
RLIF East 2 LLC                                 Warner-Williams Investments, Inc.
RLR Investments, LLC                            Watwood Investments, LLC
Roemer Way LLC                                  West Emerson Brokers Mall Ltd.
RWP Manitoba Ltd                                WIPT, Inc.
Ryder Transportation Services                   Wolverine Freight System
S&S Transport                                   Zollinger Commercial Warehousing
Salem Warehouse Syndicate LLC
Santa Maria Investments, LLC                    Restructuring Professionals
Schopp Properties                               Alix Partners
Shaffer Road LLC                                Arnold & Porter
Shurling Property                               Choate Hall & Stewart LLP
Silver Creek, LLC                               FTI
Snohomish County/City Airport                   Hogan Lovells US LLP
Soeth Corporation                               Holland & Knight LLP
Southeastern Freight Lines, Inc.                Houlihan Lokey
Southern Warehousing & Distribution             Milbank
Spalding and Son, Inc.                          Province
Staker & Parson                                 Quinn Emanuel
Sterling National Bank                          Ropes & Gray
Stoughton Trailers Acceptance Co LLC            White & Case
Tatanka, LLC
Terminal Logistics II Mid-Atlantic Spe,         Subrogation’s Claims Open Litigation
LLC                                             Abili, Edward
Terminal Logistics II South Spe, LLC            Agyilirah, Kwame
Terminal Logistics II Texas Spe, LP             Alexander, James C
Terreno Clawiter LLC                            Almonte, Criseily A
Terreno Dell LLC                                Arce, Mario
TFI International Inc.                          Arias, Nicole
The Faloma Fazio Property, LLC                  Auguste, Micheline
The McPherson Companies                         Baez, Dania
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Bagwell, Kevin                            Hill, Tina
Baker, Ringo                              Hong, Han G
Bazarov, Jacob                            Hong, Isaac
Binette, Myriam                           Hong, Marybeth
Boblitt, Robert E                         House, Joshua W
Bojang, Muhamed                           Howard, James
Broussard, Devonte Thomas                 Hubert, Jimmie
Brown, Melissa D                          Hucks, Novella N
Bufford, Russell                          Hudson, Christine
Buford, Virginia                          Ibarra-Bastidas, Gabriela
Burrell, Brandy C                         Jackson, Geraldine
Byrd, Destinee R                          Jackson, Leroy F
Cancino, Edgar                            Johnson, Glenn
Carrillo, Robert                          Johnson, Lillie P
Charlot, Charlene                         Jones, Delores
Clarin, Shannon L                         Kelsie, Adam
Clark, Paul                               Khaira, Jarnail S
Cooper, Steven                            Kiel, Mindy Ann
Curry, James                              Kirn, Colenan B
Daugherty, Norman E                       Kitzmiller, Christie
Deleon, Yeferson                          Kluxen, Michael
Dewell, Megan B                           Kouloujian, Hagop
Dominguez, Jennifer                       Lapolla, Blaise E
Drew, Derrick E                           Leung, Marina
Drive New Jersey Ins. Co.                 Littral, William A
Eskridge, DeCarlo A                       Loomis, Marshall
Fernandez, Christian                      Lopez-Builes, Martha
Fisher, Sherquenna                        Louis, Kirby
Freeman, Sabrina                          Louro, Emily J
Fuselier, William                         Luce, John
Garcia, Erica                             Madden, Jaylin J
Gassaway, John                            Martin, Janae
Gibby, Gary                               Mata, Martin Nava
Gilmore, Jimmie L                         Mcbean, Camila
Giunto, Vincenzo                          Mercado, Milagros V
Glover, D'Angelo                          Miller, Thomas
Goodman, Sopia L                          Misquez, Aaron S
Grissom, Bobby                            Mongelli, Paul L
Haefner Farm                              Moonilal-Singh, Kavir
Hall, Derek                               Mughadam, David
Hamilton, Bonita                          Napiwocki, Jill
Hanford, Paige                            Neathery, Anthony S
Hernandez, Emely                          Newton, Jesse
Hernandez, Henry P                        Nowicki, Lawrence
Hettick, Rachael L                        Oncor Electric Delivery Company
Hill, Antonio                             Openshaw, Anne-Celeste
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Patel, Ankit K                           Watkins, Eric
Patterson, Nancy                         Williams, Bernard
Peguero, Yency                           Williams, John
Pemba, Vignola                           Winston, Joyce A
Perez-Ortiz, Yuritsi                     Winston, Sharee D
Perez-Valencia, Lexington                Wyszynski, Paul
Plott, JC                                Yanto, Charmane
Ponce, Leonel
Powell, Anthony                          Surety
Proto, Erik                              Arch Capital Group
Richard, Joshua                          Argo Group
Riggins, Kimdell                         AXA XL
Riley, Cherry B                          Chubb Group
Rivera-Romero, Leslie J                  CNA Surety
Robinson, Summer Cheyenne                Intact Group
Robles, Samuel                           Liberty Mutual Group
Rodriguez, Kenneth                       Protective Insurance Company
Rodriguez, Raudin
Rogers, Liliah                           Taxing Authority
Roman, Nadine                            Canada Revenue Agency
Ropshaw, Cade J                          City of Danville, IL
Sanchez Garcia, Horacio                  City of Joliet, IL
Sanders, John                            Los Angeles County, CA
Santos, Martita S                        Massachusetts Department of Revenue
Sawyer, Sheri L                          New York Department of Taxation and
Sayegh, Ailyn                            Finance
Schimmoller, James D                     Pennsylvania Department of Revenue
Selby, Robert                            San Joaquin County Assessor’s Office
Session, Qusarn F                        (Tracy, CA)
Simon, Alpar                             St. Joseph County (South Bend), IN
Sira-Monsalve, Yelimar                   Texas Comptroller
Slater, Willie Lee                       Washington Department of Revenue
Sneed, Hodges
Sofolonia, Vea                           Top Creditors
Sosa, Juan                               Amazon
Spence, Tena J                           Bed Bath & Beyond
Sritharan, Sri                           Belk Express
Stewart Rentals                          BNSF Railway Company
Tartabull, Carlos E                      Central Pennsylvania Teamsters
Tinsley, Jesstina                        Central States H&W Fund
Trice, Whittni L                         Central States Pension
Turakulov, Damir T                       Coty Usa, LLC
Veasey, Zackary                          Daimler Trucks NA
Viera, Octavio F                         Direct Chassislink, Inc.
Wasmiller, Lorinda                       EXL Service Holdings Inc
Waters-Ocasio, Laureen                   Goodyear Tire & Rubber Company
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Home Depot                                     People's Capital and Leasing Corp
IAM National 401K Plan                         People's United Bank NA
IBT Local 710                                  PMC Financial Services Group LLC
Keurig Dr. Pepper                              Radius Bank
Local 707                                      RBS Citizens Business Capital as Agent
Local 805 Pension and Retirement Plan          Somerset Capital Group Ltd
Michelin North America Inc                     Somerset Capital Group XXII
Michigan Conference of Teamsters               Stoughton Trailers Acceptance Company
Mid-American Constructors LLC                  LLC
North American Transaction Services            Susquehanna Commercial Finance Inc
NY State Teamsters Council                     Toyota Industries Commercial Finance Inc
Pension Benefit Guaranty Corporation           Utica LeaseCo LLC
Penske Truck Leasing                           Wintrust Equipment Finance
Pilot Travel Centers LLC                       YRC Inc
RFT Logistics LLC
Teamsters National 401K Savings Plan           UCC Members
Union Pacific Railroad                         Armando Rivera
Western Teamsters Welfare Fund                 BNSF Railway Company
                                               Central States, Southeast and Southwest
UCC Lien                                       Areas Pension Fund
Altabank                                       Daimler Trucks NA
Alter Domus Products Corp.                     International Brotherhood of Teamsters
Bank of New York Mellon, the as Collateral     Michelin North America Inc
Agent                                          New York State Teamsters Pension and
BOFI Federal Bank                              Health Funds
Citizens Asset Finance Inc                     Pension Benefit Guaranty Corporation
Citizens Bank N.A.                             RFT Logistics LLC
Citizens Business Capital
Cortland Products Corp.                        UCC Professionals
Credit Suisse AG as Collateral Agent           Akin Gump
Everbank Commercial Finance Inc                Huron Consulting
First Utah Bank                                Miller Buckfire & Co.
Growth Funding Equipment Finance
Harbor Capital Leasing Inc                     Union
Harbor Capital Leasing LLC                     International Brotherhood of Teamsters
HYG Financial Services Inc
Internal Revenue Service                       Union Funds
Investors Bank                                 Albany Trucking & Allied Industries - Local
JP Morgan Chase Bank N.A.                      294
Le Schwab Warehouse Center Inc                 Automobile Mechanics' Local 701 Union &
Milestone Equipment Corporation                Industry Pension Fund (Chicago Mechanics)
Nations Fund I Inc                             Automobile Mechanics' Local 701 Union &
Nations Fund I LLC                             Industry Welfare Fund (Chicago Mechanics)
Newstar Commercial Lease Funding I LLC         BRAC 1908 Mia (Allied Services Division)
Newstar Equipment Finance I LLC                BRAC 1908 Mia (TCU Pension Fund)
NMHG Financial Services Inc                    Central Pennsylvania Teamsters HW Fund
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Central Pennsylvania Teamsters Pension         Management Labor Welfare & Pension
Fund                                           Funds - Local 1730 Ila
Central States H/W Fund - Local 778            Michigan Conference of Teamsters Welfare
Kansas Paid To 01A (IAM)                       Fund
Central States Health & Welfare Fund           Mid Jersey Trucking Industry Local 701
Central States Pension Fund (Local 778         Welfare & Pension Fund
Mechanics)                                     Minnesota Teamsters - Minneapolis Office
Central States Pension Funds                   National IAM Pension Fund (SoCal 1186)
Chauffeurs, Teamsters & Helpers Local          New England Teamsters Pension Trust
Union #301, I B Of T                           New York State Teamsters (Local 445)
District #77 IAMAW Welfare Association         New York State Teamsters Conference
(737 St. Paul HW (IAM))                        Pension & Retirement Fund
District #9 IA of M & A W Welfare Trust        New York State Teamsters Council Health
(Local 777 St Louis HW)                        & Hospital Fund
District #9 IA of M & AW Pension Trust         New York State Welfare Fund (Local 355 -
(Local 777 - St Louis Mech)                    BLT)
East Bay Drayage Drivers Security Fund         Northern New England Benefit Trust
(Local 70)                                     OPEIU (TPA Corp 401K) Santa Rosa and
Employer-Teamsters Local #175 & 505            Bay Area
H/W Fund (JC 84)                               Oregon Teamsters National 401K Savings
Freight Drivers & Helpers Local Union 557      Plan
Hagerstown Teamsters Health & Pension          Oregon Western Teamsters Welfare Fund
Fund (Local 992)                               P130-Employers-Teamsters Local #175 &
Hawaii Teamsters Health & Welfare Trust        505 Pension Fund (JC 84)
Hawaii Truckers Union Pension Fund             Road Carriers Local 707 Health & Welfare
IA of M Motor City Welfare & Pension           Fund
Fund (Local 698 - Detroit Mechanics)           Road Carriers Local 707 Pension Fund
IAM Local 447 Health/Welfare Fund              Santa Rosa 665, Local 287, and Local 2785
(Buffalo HW)                                   (Teamster Benefit Trust)
IAM National Pension Fund                      Suburban Teamsters of Northern Illinois
IAM National Pension Fund (Buf 447)            Welfare & Pension Fund (Local 179)
IAM National Pension Fund (Local 778           Suburban Teamsters of Northern Illinois
Mechanics)                                     Welfare & Pension Fund (Local
IAM National Pension Fund (St Paul 737)        673/179/330/134)
IBOFT Office of the Trustees Local 710         SW PA And Western Maryland Teamsters
HW & Pension Fund (Chicago Mechanics)          & Employers Pension Fund
Indiana Conference of Teamsters Safety         Teamsters #261 & Employers Welfare Fund
Training & Educational Trust Fund              Teamsters 401(K) Jo/Milwaukee
Joint Council #83- Virginia                    Teamsters 401(K) Joliete
LA Machinists Benefit Trust (Local 1186        Teamsters Health Services & Insurance Plan
Southern CA Mech)                              of Local 404
Local 294 Albany Area Trucking                 Teamsters Joint Council #83 Of Virginia
Local 445 Pension Fund                         Teamsters Local 251 Health Services &
Local 705 IB of T Health & Welfare Fund        Insurance Plan
Machinist Money Purchase Pension Fund          Teamsters Local 493 Health Service &
                                               Insurance Plan
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Teamsters Local 560 Benefit Funds (North       US Trustee
Jersey)                                        Benjamin Hackman
Teamsters Local 617                            Christine Green
Teamsters Local 639 Employers Health           Diane Giordano
Trust                                          Dion Wynn
Teamsters Local 639 Employers Pension          Edith A. Serrano
Trust                                          Hannah M. McCollum
Teamsters Local 641 Pension Fund               Holly Dice
Teamsters Local 641 Welfare Fund               James R. O'Malley
Teamsters Local 671 Health Services &          Jane Leamy
Insurance Plan                                 Joseph Cudia
Teamsters Local 677 Health Services &          Joseph McMahon
Insurance Plan                                 Juliet Sarkessian
Teamsters Local Union No. 653 Health           Lauren Attix
Welfare & Insurance Fund                       Linda Casey
Teamsters Pension Trust Fund of                Linda Richenderfer
Philadelphia and Vicinity - Teamsters          Nyanquoi Jones
Health & Welfare Fund                          Richard Schepacarter
Teamsters Pension Trust Fund of                Rosa Sierra-Fox
Philadelphia and Vicinity - Teamsters          Shakima L. Dortch
Pension Fund                                   Timothy J. Fox, Jr.
Teamsters Union 25 Health Services &
Insurance Plan                                 Vendor
Transportation Local 443 Health Service &      4Refuel Canada LP
Insurance Plan                                 7 Oil Company Inc
Truck Drivers Local 170 Health & Welfare       A Duie Pyle Inc
Fund                                           AAA Semi Truck & Trailer Repairs, LLC
Union Local 705 PT Pension Fund                Altus Receivables Management Inc
Washington Teamsters National 401K             AmeriGas Propane
Savings Plan                                   Aramark
Western Conference of Teamsters - National     AT&T
401(K) Savings Plan                            Aurora Parts & Accessories LLC
Western Conference of Teamsters                Avery Weigh-Tronix LLC
Supplemental Benefit Trust Fund                B2B Supply
Western Pennsylvania Teamsters &               Baucom Service Inc
Employers Pension Fund                         Bayard Advertising Agency
Western Pennsylvania Teamsters &               Belk Express
Employers Welfare Fund                         Bestpass, Inc.
Western States Office & Professional           Blue Cross and Blue Shield ILL
Employees Pension Fund (OPEU)                  Bobs Mobile Truck & Trailer Shop Ltd
Western Teamsters Welfare Fund                 Bridgestone Americas
Western Teamsters Welfare Trust - OPEIU        Brown & Joseph
Western Teamsters Welfare Trust -              BS Transport LLC
Washington                                     Cass Information Systems, Inc.
Wisconsin Health Fund                          CBK Construction Company
                                               CenturyLink
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Chevron Products Company                      Hartford Life and Accident Ins Co
Cintas                                        Haulistic LLC
City Wide Franchise Co Inc                    Haz-Mat Response, Inc.
CN                                            Heritage Petroleum LLC
Comdata, Inc.                                 Hightowers Petroleum Company
Conrad & Bischoff, Inc.                       Hnry Intra Sup
Converge One Inc                              Honeywell Scanning and Mobility
Cook County Treasurer                         Hyundai Translead
Corporate Lodging Consultants Inc             IBM Corporation
Coyote Logistics                              IBT Local 710
Cross Country Courier Inc                     IBT Local 710 Health & Welfare
CSTK                                          IBT Local 710 Pension Fund
CVS Caremark                                  Imperial Supplies LLC
Daimler Truck Financial Services              Indiana State Department of Revenue
Dekra Services Inc.                           Infostretch Corporation
Dell Marketing L.P.                           Insight Direct USA, Inc.
Delta Dental of Kansas, Inc.                  Intercept Logistics, Inc.
Diesel Direct West                            Interstate Building Maintenance Corp.
Diesel Direct, Inc.                           ITF LLC
Direct Chassislink, Inc.                      ITS National, LLC
Diversified Energy Supply                     J.J. Advantage Security
Dun & Bradstreet, Inc                         Jacobus Energy LLC
EAN Services LLC                              James River Petroleum, Inc.
EBDDSF                                        JLT Mobile Computers Inc.
Ernst & Young LLP                             Kasowitz Benson Torres LLP
EXL Service Holdings Inc                      Keyhole Software LLC
EXL Service Ireland Limited                   KPMG LLP
Expersolve                                    Lao-Hmong Security Agency Inc
Factor Systems, Inc.                          Leuf of Florida Inc
Fidelity Workplace Services LLC               Local 251 H & W Fund
Fire Engineering Company, Inc.                Local 701 Mid Jersey Trucking
First Advantage Background Services Corp      Local 707
Fleet Charge                                  Lytx, Inc.
Fleetpride                                    Magnum LTL, Inc.
Fletes Mexico Carga Express                   Mansfield Oil Company
Gardaworld Security Services                  Marsh USA Inc
Gardewine & Sons Ltd                          Merge
GBS                                           Michelin North America Inc
GEOS Environmental, Inc.                      Microsoft Corporation
Goetz Energy Corporation                      Mid-American Constructors LLC
Goodyear Tire & Rubber Company                Milestone Trailer Leasing LLC
GPT Operating Partnership LP                  Mirabito Energy Products
Grainger                                      Miracle Express, Inc.
Green Blue 1818 LLC                           Miri Piri Transportation Inc
Guidepoint Security LLC                       M-O Freight Works
Hagerstown Teamsters & Motor Carriers         Mode Transportation LLC
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Morgan, Lewis & Bockius LLP                   Ricoh USA, Inc.
Motus LLC                                     Riley Oil Co
MTM Recognition Corporation                   RingCentral Inc
National Landscape Management                 Road Carriers Local 707 Welfare Fund
New England Teamsters Pension Fund            Road-1 Inc
Nextran Truck Centers Midwest Inc             RoofOptions, LLC
Norfolk Southern Corporation                  Rush Truck Center
North American Transaction Services           Safety-Kleen Systems Inc
North Park Transportation Co Inc              Salesforce.com Inc
NTT Data Services LLC                         SBC Tax Collector
NW Fleet Trucktrailer Repair Inc              SC Fuels
NY St Teamsters                               Schneider National, Inc.
NY State Teamsters Council                    Securitas Security Services
Offen Petroleum LLC                           Security Solutions of America
Ogletree, Deakins, Nash, Smoak & Stewart,     Sedgwick Claims Management Services,
P.C.                                          Inc.
Ohio Department of Taxation                   Signature Graphics Inc
Okta Inc                                      Span Alaska Transportation Inc
Old Republic Risk Management Inc              Speedy Transport Group Inc
Old World Industries, LLC                     Staples Business Advantage
Optym                                         STL Truckers, LLC.
Oracle America Inc                            Straight Freight System LLC
Oregon DOT/MCT                                Suburban Teamsters Welfare Fund
Oregon Teamster Employers Trust               Superior Material Handling Inc
Orlando Pro Truck Repairs LLC                 Tacoma Motorfreight Service
Osco Incorporated                             Taylor Communications
Overland West Freight Lines                   TBS Factoring Service, LLC
Paccar Parts Fleet Services                   Teamsters Health & Welfare Fund
Packaging Corporation of America              Teamsters Local 25 H & W Plan
Pasha Hawaii Holdings LLC                     Teamsters Local 641
PCS Surface Delivery                          Teamsters Local 641 H/W Fund
Petrocard, Inc.                               Teamsters National 401K Savings Plan
Pilot Travel Centers LLC                      Teamsters Pension Fund
Pinnacle Fleet Solutions                      Teamsters Union Local 25
Pontoon Solutions, Inc.                       Technology Group Solutions, LLC
Prestige Fleet Services LLC                   Ten Logistics, Inc.
Progistics Distribution Inc                   Tig Fleet Service
Prologis USLV Newca 3 LP                      Total Quality Logistics, LLC
Proskauer Rose LLP                            Tote Maritime Puerto Rico, LLC
Publicis Sapient                              Trans-National Express
R & D Mobile Services Inc                     Trucking Employees of North
R.L. Roberts Llc                              Trucking Management, Inc.
Rays Tire Service LLC                         TruckPro
Receiver General for Canada                   U.S. Xpress Enterprises Inc.
Reed Transport, LLC                           Uline Shipping Supply Specialists
RFT Logistics LLC                             Union Pacific Railroad
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United Parcel Service
US Special Delivery
Vanguard Trailer
Verizon Connect Telo Inc
Verizon Wireless
Washington Teamsters Welfare Trust
Waste Harmonics
Waste Management National Services Inc
Webster Bank
Welfare Account No. 500
West Power Services
Western PA Welfare Fund
Wiese USA
Wilmington Trust Company
World Fuel Services Inc
Zello Inc
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                        Schedule B

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 Potential Interested Party     Affiliation to Cases                Connection to Firm

Cadbury Mondelez Pension       Bank Lender               Affiliate of former client in unrelated
Trust Limited                                            matter
U.S. Bank N.A.                 Bank Lender               Current client in unrelated matter

Ford Motor Company             Customer                  Current client in unrelated matter

United States Government       Lender, Equity Holder     Former client in related matter

Matthew Doheny                 Director, Officer         Affiliate of former client in unrelated
                                                         matter
AEGIS London                   Insurance Provider        Affiliate of former client in unrelated
                                                         matter
AIG Specialty Insurance        Insurance Provider        Affiliate of former client in unrelated
Company                                                  matter
AXA XL                         Insurance provider        Affiliate of former client in unrelated
                                                         matter
Highland Investments, LLLP     Contract counterparty     Affiliate of former client in unrelated
                                                         matter
NAPA Auto Parts                Contract counterparty     Affiliate of current client in unrelated
                                                         matter
People’s United Bank NA        UCC Lien                  Former client in unrelated matter

CenturyLink                    Vendor                    Current client in unrelated matter

Chevron Products Company       Vendor                    Affiliate of former client in unrelated
                                                         matter
Ernst & Young LLP              Vendor                    Affiliate of current client in unrelated
                                                         matter
Gardaworld Security Services   Vendor                    Affiliate of former client in unrelated
                                                         matter
Verizon                        Vendor                    Former client in unrelated matter

Wilmington Trust Company       Vendor                    Former client in unrelated matter

Houlihan Lokey                 Restructuring             Current client in unrelated matter
                               Professional
Quinn Emanuel                  Restructuring             Former client in unrelated matter
                               Professional
